                 IN THE UNITED STATES DISTRICT COURT FOR THE
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                                  CASE NO. 3:12-cr-239-GCM

UNITED STATES OF AMERICA            )
                                    )
       v.                           )                     ORDER
                                    )
(5) VICTORIA HUNT                   )
(14) JAMES TYSON, JR.               )
____________________________________)

       THIS MATTER is before the Court sua sponte and in reference to the Government’s

Supplemental Filing with Regard to Restitution (Doc. No. 1090). On May 26, 2015, the Court

sentenced Defendants and ordered them to pay restitution to a number of fraud victims. The Court

specifically held open, however, the issue of whether restitution was owed to victim F.M., and if

so, in what amount. (See Doc. No. 1096 at 33-34).

       Now, in its Supplemental Filing, the Government maintains that restitution is owed to

victim F.M. pursuant to the Mandatory Victims Restitution Act, which mandates restitution for

offenses “against property under this title . . . including any offense committed by fraud or deceit”

and “in which an identifiable victim or victims has suffered a . . . pecuniary loss.” See 18 U.S.C.

§ 3663(c)(1)(A) & (B). That statute focuses on the offense of specific conviction rather than

relevant conduct. See United States v. Newsome, 322 F.3d 328, 341 (4th Cir. 2003) (“[T]he focus

of the court in applying the MVRA must be on the losses to the victim caused by the offense.”).

With respect to charges of conspiracy, restitution is required for the losses attributable to the

specific conspiracy offenses of which the defendant was convicted. United States v. Llamas, 599

F.3d 381, 391 (4th Cir. 2010).




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        Based on the evidence presented in this matter, as well as the information set forth in the

Pre-Sentence Report, the Court agrees with the Government that restitution is owed to F.M. in the

amount of $7,500,000.00. The Court, however, pursuant to 18 U.S.C. § 3664(i), finds that more

than one victim has sustained a loss requiring restitution by these Defendants and, based on the

type and amount of each victim’s loss, and accounting especially for the economic circumstances

of each victim, orders that victim F.M. shall be paid restitution after all other victims have been

restored in full.

SO ORDERED.

 Signed: September 2, 2015




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